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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                       v.                          ) Case No. 1:21-cr-195
                                                   )
 ETHAN NORDEAN, et al.,                            ) Judge Timothy J. Kelly
                                                   )
        Defendants.                                )
                                                   )

            DEFENDANT NORDEAN’S NOTICE OF RECENT AUTHORITY

       Defendant Nordean, through his counsel, alerts the Court to recent authority that postdates

briefing on his motion to dismiss the First Superseding Indictment.

       On September 9, the Chief Judge of the Northern District of Florida entered a preliminary

injunction against enforcement of Florida Statute § 870.01(2), an “anti-riot” law enacted by the

Florida legislature in 2021. The Dream Defenders, et al., v. Ron DeSantis, 21-cv-191, ECF No.

137 (N.D. Fla. Sept. 9, 2021), Exh. 1. The riot law was enjoined on account of its

unconstitutional vagueness and overbreadth. Exh. 1, pp. 45-77. For the Court’s convenience,

Nordean pastes side-by-side below the enjoined Florida riot law and 18 U.S.C. § 231(a)(3):

       A person commits a riot if he or she willfully participates in a violent public disturbance
       involving an assembly of three or more persons, acting with a common intent to assist
       each other in violent and disorderly conduct, resulting in:
       (a) Injury to another person;
       (b) Damage to property; or
       (c) Imminent danger of injury to another person or damage to
       property.

       § 870.01(2), Fla. Stat. (2021).

       Whoever commits or attempts to commit any act to obstruct, impede, or interfere with
       any fireman or law enforcement officer lawfully engaged in the lawful performance of
       his official duties incident to and during the commission of a civil disorder which in any
       way or degree obstructs, delays, or adversely affects commerce or the movement of any

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        article or commodity in commerce or the conduct or performance of any federally
        protected function. . . [s]hall be [punished]. . .

        18 U.S.C. § 231(a)(3).

        The term “civil disorder” means any public disturbance involving acts of acts of violence
        by assemblages of three or more persons, which causes an immediate danger of or results
        in damage or injury to the property or person of any other individual.

        18 U.S.C. § 232(1).

        Among other reasons for enjoining the Florida riot law, the Chief Judge found

overbreadth in the fact that the legislation appeared to criminalize the defendant’s protest

activities even if he did not participate in the violent acts necessary to satisfy the definition of a

“violent public disturbance.” Exh. 1, pp. 75-76. Likewise, the court found vagueness in the

definition of “violent public disturbance,” which, like in § 231(a)(3)’s “civil disorder,” consisted

of violent acts by “three or more persons.” Even if there were “a rowdy group of Proud Boys”

present at an assembly, the court reasoned, it is statutorily vague whether that would somehow

transform an entire assemblage into a “violent public disturbance.” Exh. 1, p. 53.


Dated: September 10, 2021                       Respectfully submitted.

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                                     Certificate of Service

       I hereby certify that on the 10th day of September, 2021, I filed the foregoing notice with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s):

              Jim Nelson
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-7846

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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